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UNITED STATES OF AMERICA BY.
v. *

a * (Possession of Child Pornography, 18 U.S.C.

STEPHEN WAYNE CORMACK, * — § 2252. A(a)(5)(B); Aiding and Abetting, 18

*

*

U.S.C. § 2; Forfeiture, 18 U.S.C. § 2253)
Defendant. ,

INDICTMENT

COUNT ONE
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about May 2, 2019, in the District of Maryland, the defendant,
STEPHEN WAYNE CORMACK,

did knowingly possess, and knowingly access with intent to view, any material that contained an’
image of child pornography, as defined in Title 18, United States Code, Section 2256(8), that
involved a prepubescent minor and a minor who had not attained twelve years of age and had been
mailed, shipped, and transported using any means and facility of interstate and foreign commerce
and in and affecting interstate and foreign commerce by any means, including by computer, and
which was produced using materials which had been mailed, shipped and transported in and
affecting interstate and foreign commerce by any means, including by computer, that is, the
defendant possessed within an Acer laptop computer, Seagate internal hard drive, and SanDisk SD
card, one or more visual depictions of one or more minors, to include one or more prepubescent
minors, engaged in sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B), (b)(2) and 2256
18 U.S.C. §2
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FORFEITURE

The Grand Jury for the District of Maryland further charges that:

1. The allegations of Count One of this Indictment are incorporated here.

2. As a result of the offenses set forth in Count One the Indictment, the defendant,

STEPHEN WAYNE CORMACK,
shall forfeit to the United States his interest in all property, real and personal, that was used and
intended to be used to commit and to promote the commission of offenses in Count One, and any
property traceable to such property, to include the following items of property seized on or about
May 2, 2019:
a) ACER Aspire laptop computer, serial number 13400028525, which contains
Seagate hard drive, serial number SVEKPKL2; and

b) 32 GB San Disk SDHC Card.

18 U.S.C. §§ 2253 & 2428

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Robert K. Hur
United States Attorney

 

A TRUE BILL: .
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